                                                                   Case Number:19-002378-CI

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                             IN    THE CIRCUIT COURT OF THE SIXTH JUDICIAL CIRCUIT
                                       IN AND FOR PINELLAS COUNTY, FLORIDA
                                                                     CIVIL DIVISION

            Samantha Jung, an            individual,
                                                                                                   Case No.:
                     Plaintiff,
           V.



            Hunter Warﬁeld, Inc.
            a foreign proﬁt corporation,


                     Defendant.
                                                                            /



                                                                       COMPLAINT

                     COMES NOW,                  Plaintiff,   Samantha Jung       (hereinafter, “Plaintiff’),      by and through    the


           undersigned counsel, and hereby ﬁles her Complaint and sues Defendant, Hunter Warﬁeld


            (hereinafter “Defendant”). In support thereof, Plaintiff alleges:


                                                        PRELIMINARY STATEMENT

                     1.           This   is    an action for damages for Defendants’ Violations of the Florida Consumer

            Collection Practices               Act,   Chapter 559, Florida Statutes (hereinafter, the                 “FCCPA”) and

            Defendants’ Violations of the Telephone Consumer Protection Act, 47 United States Code,


            Section 227 (hereinafter, the “TCPA”).


                     2.           Additionally,        this   is    an action for Defendants’       calls     to   Plaintiff’s   cellular


           telephone using an automatic telephone dialing system, a predictive telephone dialing system, or


            an artiﬁcial or pre-recorded voice, despite Defendants’ lacking                     Plaintiff’s   consent to    make such

            calls to her cellular telephone.


                                                      JURISDICTION, VENUE              & PARTIES

                     3.           This    is   an action for damages that exceeds $15,000.00, exclusive of attorneys’

            fees   and   costs.




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           4.         Jurisdiction      and venue        for purposes            of   this    action are conferred       by Florida

Statutes, Sections 34.01, 47.01                 1,   and 559.77(1), as well as 47 United States Code, Section


277(b)(3).


           5.         Defendants are subject to the jurisdiction of                          this   Court as Defendant regularly


transacts business in this Circuit as the events described herein occur in this Circuit.


           6.         Venue        in this Circuit is proper because Defendants transacts business in this


Circuit,   and the events described herein occurred in                 this Circuit.


           7.         At    all   material times herein, Plaintiff          is   an individual residing in Pinellas County,

Florida.


           8.         At    all   material times herein, Defendant Hunter                     Warﬁeld     Inc., is   a foreign proﬁt


company With a principal address of 4620 Woodland Corporate Blvd. Tampa, FL 33614.

                        FCCPA, FDCPA AND TCPA STATUTORY STRUCTURE

           9.         The    FCCPA       is   a state consumer protection statute, modeled after the                     FDCPA,    a


statute   designed to prohibit unfair, deceptive, and abusive practices in the collection of consumer


debts as well as to protect against the invasion of individual privacy.                                15 U.S.C., §§ 1692(a) and


(e); Fla. Stat.     §§ 559.55 and 559.77(5).

           10.        The     FDCPA       imposes       civil   liability    on any debt collector—and the                  FCCPA

imposes         liability   on any creditor/person              as well as            any debt collector— Who “uses any

instrumentality of interstate             commerce       or the mails in any business the principal purposes of


Which     is   the collection of any debts,” or          Who    “regularly collects or attempts to collect, directly or


indirectly, debts       owed       or due or asserted to be       owed      or due to another” and both statutes prohibit


engaging in particular Violative conduct in connection With collecting consumer debts.                                           15


U.S.C. § 1692(a)(6); Fla.             Stat. §   559.55(5).
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           11.            Speciﬁcally,        the    FDCPA        and    FCCPA      prohibit      unlawful       debt    collection


“communication” With consumer debtors, Which                             is   deﬁned     as “the conveying of information


regarding a debt directly 0r indirectly to any person through any                           medium” (emphasis           added).   15


U.S.C. § 1692(a)(2); Fla.                Stat. §    559.55(2).


           12.            For example, the          FDCPA prohibits      a debt collector from engaging in any conduct


the natural consequence of                 Which      is to   harass, oppress, or abuse      any person     in connection With


the collection of a             consumer      debt, or    from using     false, deceptive,    or misleading representations


or   means     in connection With the collection                 of any consumer debt. See 15 U.S.C. §§ 1692(d)—(e).

           13.            Similarly, the       FCCPA          prohibits a person        from collecting consumer debt by

communicating With the consumer                         in a    manner   that   can be expected to harass or abuse the


consumer       debtor,      and also prohibits a person from claiming, attempting, or threatening                        to enforce


a consumer debt             “When such person knows               that the debt is not legitimate” or       by   asserting a legal


right that does not exist.              See   Fla. Stat. § 559.72(7)     and 559.72(9).

           14.            Congress enacted the           TCPA      in effort to restrict pervasive use           of telemarketing


and increasing use of cost-effective telemarketing techniques.                              Pub   L. 102-243, § 2, Dec. 20,


1991, 105 Sta. 2394 (1) and                 (8).



           15.            Congress found that “[u]nrestricted telemarketing...can be an intrusive invasion


of privacy.      .
                     .”   and   it   intended to prevent automated or pre-recorded telephone calls as “the only


effective    means of protecting telephone consumers from                        this   nuisance and privacy invasion.” Id.


at (5)   and   (12).


           16.            Under the TCPA, any person Who                   initiates calls to     any number assigned          to a


cellular     telephone service using any automated telephone dialing system or artiﬁcial or


prerecorded voice without the recipient’s prior express consent                           is liable to   the recipient for actual
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monetary    loss, or     up    to   $500.00 in damages for each Violation of the TCPA, whichever           is greater.



47 U.s.C. § 227(b)(3)(B).

         17.        Additionally, under the        TCPA,     the court    may   increase the   damage award up         to


three (3) times,     up    to $1,500.00, for      each willful or knowing Violation of the         TCPA. Id         at §



227(b)(3)(C).


                                            GENERAL ALLEGATIONS
         18.        At   all   material times herein, Defendants used interstate mail While engaging in a


business, the principal purpose of              Which   is   the collection of consumer debts allegedly due


another.


         19.        At   all    material times herein, Defendants are entities           Who   regularly collect or


attempt to collect, directly or indirectly debts             owed   or due, or asserted to be      owed   or due, to


another from consumers in Pinellas County, Florida.


         20.        At   all    material times herein, Defendants acted            itself,   or through   its    agents,


employees, ofﬁcers, members, directors, successors, assigns, principals, trustees,                              sureties,


subrogees, representatives, third-party vendors, lawyers and insurers.


         21.        At   all   times material herein, Defendants attempted to collect an alleged debt due


from   Plaintiff,   speciﬁcally an account ending in -5 707 (hereinafter, “Debt”).


         22.        At   all   material times herein, the Debt      was consumer     debt,   an obligation resulting

from a transaction or transactions for goods or              services,   and was incurred primarily    for personal,


household, or family use.


         23.        At   all    material times herein, Defendants received or          was assigned    the   Debt     for


collection—and       at all     times herein collected the Debt—after the Debt was in default.


         24.        A11 necessary conditions precedent to the ﬁling of this action occurred or have
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been waived by Defendants.

                                            FACTUAL ALLEGATIONS

        25.      On      or about January 25,             2019, Plaintiff received a      letter    from Defendant

pertaining to a debt. See Letter attached as Exhibit “A.”


        26.       Subsequently Defendant continued the barrage of relentless calls to collect on the


alleged debt disregarding Plaintiff’s           initial   revocation on February 16, 2019 at 9:54          A.M. and

subsequently told them to stop calling on                 March   4,   2019 and March     6,    2019. See Call     Log

attached as Exhibit “B.”


        27.      Defendant’s telephone           calls, as   more speciﬁcally alleged below, were made               to


Plaintiff’s cellular     telephone number ending -1819 (hereinafter, “Cellular Telephone”) using an


automatic telephone dialing system (hereinafter, “ATDS”), a predictive telephone dialing system


(hereinafter,   “PTDS”), and/or an          artiﬁcial or pre-recorded voice (hereinafter,        “APV”).

        28.      Defendant’s calls would leave automated voicemails and                        When   Plaintiff   would

pick up the phone calls there was a brief pause before another representative was connected.


        29.      Defendant would also change phone numbers in an                     effort to get Plaintiff to    pick


up the phone    calls.



        30.      Defendant continues the barrage of calls to             this day.


        31.      Plaintiff also alleges that the initial debt is illegitimate           and    that Plaintiff disputed


the debt.


        32.      Plaintiff is the owner, regular user,         and possessor of a Cellular Telephone With the

assigned number ending        -1   8 1 9.


        33.      At no time herein did Defendant possess                Plaintiff’s prior express     consent to call


her Cellular Telephone using an             ATDS,   a   PTDS, and/or an APV.
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          34.        Additionally, if Defendant contends the below-referenced                               phone      calls   were placed

                                                 7,
for “informational purposes only,                     it   nevertheless lacked the required prior express written


consent necessary to place such informational calls to Plaintiff’s Cellular Telephone using an


ATDS,     a   PTDS,   or an   APV.

          35.        Between February 2019                       and today,           Defendant         called      Plaintiff’s    Cellular


Telephone using an          ATDS,    a   PTDS,        or an     APV.

          36.        The immediately-aforementioned                          calls   were made in an attempt                  to collect the


Debt.


          37.        Plaintiff has received               no    less than sixteen (16) calls               from Defendant on her

Cellular Telephone using an              ATDS,        a   PTDS, and/or an APV,                 in Violation   of the     TCPA, FDCPA

and   FCCPA Within a span of 1            month.


          38.        Plaintiff has not     been       able,     due    to   both professional and personal commitments, as


well as the continued and increasing stress associated With the continued barrage of Debt


collection calls, to record the speciﬁcs                   on each and every          call    made     to Plaintiff.     Plaintiff asserts,


however, that the above-referenced                    calls are but a sub-set               of the   total calls   she   is   aware of that

each caused      stress, anxiety,        and   inability to use her Cellular                   Telephone When Defendant made

such    calls, all   made   in Violation       of the TCPA. Defendant                  is   in the best position to determine           and

ascertain the    number and methodology of calls made                           to Plaintiff.


          39.        United States Code, Title 47, Section 227(b)(3) provides for the award of $500.00


or actual damages, whichever               is greater,           for    each telephone          call   placed using any automatic


telephone dialing system or an artiﬁcial or pre-recorded voice to Plaintiff’ s Cellular Telephone in


Violation of the      TCPA or the regulations proscribed thereunder.

          40.        Additionally, the         TCPA,           Section 227(b)(3) allows the               trial    court to increase the
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damages up      to three times, or $1,500.00, for             each telephone      call   placed using any automatic


telephone dialing system or an artiﬁcial or prerecorded voice to Plaintiff’ s Cellular Telephone in


willﬁﬂ or knowing Violation of the            TCPA or the regulations proscribed thereunder.

                                   COUNT ONE:
                     TELEPHONE CONSUMER PROTECTION ACT-
              VIOLATION OF 47 UNITED STATES CODE, SECTION 227(b)(1)(A)

        Plaintiff re-alleges paragraphs          one   (1)   through forty (40) as        if fully restated herein   and

further states as follows:


        41.      Defendant       is   subject to, and has violated the provisions of, 47 United States Code,


Section 227(b)(1)(A)          by Defendant using an automatic telephone                  dialing system, a predictive


telephone dialing system, and/or an artiﬁcial or pre-recorded voice to call a telephone number


assigned to a cellular telephone service without Plaintiff” s prior express consent.


        42.      More         speciﬁcally, Defendant used an automatic telephone dialing system, a


predictive telephone dialing system, or an artiﬁcial or pre-recorded voice to call Plaintiff’ s


Cellular Telephone at least sixteen (16) times in              its   attempt to collect the Debt.


        43.      At no time did Defendant possess               Plaintiff’ s prior   express consent to call Plaintiff


on her Cellular Telephone.

        44.      Additionally,          if   Defendant       contends     these   phone      calls   were   made     for


“informational purposes only,” they nonetheless lacked the required prior express written


consent necessary to          make such      informational calls to Plaintiff’s cellular phone using and an


ATDS,   a   PTDS,     or an   APV.

        45.      As    a direct and proximate result of the immediately—aforementioned Defendant’s


conduct, namely on each of the Debt collection calls made, Plaintiff suffered:


                 a.           the periodic loss of her Cellular Telephone service;
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                 b.           lost material costs associated           With the use of peak time Cellular Telephone


         minutes allotted under her Cellular Telephone service contract;


                 c.           expenditure of costs and attorney’s fees associated With the prosecution of


         this matter,   along With other damages Which have been                     lost;



                 d.           stress, anxiety,        loss   of    sleep, invasion    of privacy, and deterioration of


         relationships, both personal                and professional, as a       result      of the repeated willful and

         knowing      calls   placed in Violation of the           TCPA; and

                                                e.           statutory damages.


                                     COUNT TWO:
                          UNLAWFUL DEBT COLLECTION PRACTICE —
                 VIOLATION OF FLORIDA STATUTES, SECTION 559.72(7)

         Plaintiff re-alleges paragraphs              one    (1)   through forty (40) as       if fully restated herein   and

further states as follows:


         46.    Defendant        is   subject to, and violated the provisions of, Florida Statutes,


Section 559.72(7) Willfully communicate With the debtor or any                               member of her     or her family


With such frequency as can reasonably be expected to harass the debtor or her or her family, or


willﬁllly   engage in other conduct Which can reasonably be expected                          to   abuse or harass the debtor


or any   member of her or her          family.


         47.    Defendant was informed to cease communication verbally on three different


occasions With Plaintiff and          still   continues to call almost every day.


         48.      Speciﬁcally, at no time did Defendant have authority to contact the Plaintiff


directly.


         49.    As     a direct and proximate result of Defendant’ actions, Plaintiff sustained damages


as   deﬁned by Florida        Statutes, Section 559.77.
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                                         PRAYER FOR RELIEF
        WHEREFORE,           as a direct      and proximate    result          of Defendant’s actions and conduct,

Plaintiff respectfully requests against        Defendant entry     of:



                   a.     Judgment against Defendant declaring                  that   Defendant violated the TCPA;

                   b.     Judgment against Defendant             for statutory           damages          in the       amount of

        $500.00 for each of Defendant’s telephone          calls that violated the             TCPA;

                   c.     Judgment against Defendant          for treble statutory            damages       in the      amount of

        $1,500.00 for each of Defendant’s telephone calls that violated the                                TCPA         for   which

        Defendant acted knowingly and/or willingly;


                   d.     Judgment against Defendant declaring                         that    Defendant violated the


        FCCPA;

                   e.     Judgment     for actual   damages   in   an amount to be determined                     at trial;


                   f.     Judgment     for   an award of reasonable attorneys’ fees and costs


                   g.     An injunction against Defendant for any further Violations;                           and

                   h.     Any other such relief the     Court      may deem proper.

                                      DEMAND FOR JURY TRIAL
        50.       Plaintiff hereby   demands a trial by jury on          all   issues triable    by right


               SPOLIATION NOTICE AND DEMAND TO RETAIN EVIDENCE

        5 1.      Plaintiff hereby gives notice to Defendant,            and demands          that   it   and   its   afﬁliates


safeguard   all   relevant evidence—paper, electronic documents, or data—pertaining to this


potential litigation as required     by law.
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                                    Consumer Law Attorneys


                                    /s/Young Kim
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                                    Clearwater, FL 33762
                                    Phone: (877) 241-2200
                                    service@consumerlawattorneys.com
                                    ykim@consumerlawattorneys.com
                                    Counselfor Plaintiﬂ




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